      3:13-cv-02819-MGL         Date Filed 07/29/14       Entry Number 12         Page 1 of 5



                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                  COLUMBIA DIVISION

 Lucille Brisbon,                          ) Civil Action No.3:13-cv-02819-MGL
                                           )
                                Plaintiff, )
                                           )
                   v.                      )
                                           )
 SSC Sumter East Operating Company LLC, )              OPINION AND ORDER
                                           )
                              Defendant. )
 __________________________________ )

       Before this Court is Defendant SSC Sumter East Operating Company LLC (“Defendant”)’s

Motion to Dismiss Plaintiff’s Amended Complaint and to Compel Arbitration. (ECF No. 5.)

Defendant moves the Court pursuant to Rule 12(b)(1) of the Federal Rules of Civil Procedure and

the Federal Arbitration Act (“FAA”), 9 U.S.C. § 1, et seq., for an order dismissing Plaintiff’s

Amended Complaint and compelling Plaintiff to arbitrate. (ECF No. 5.) In the alternative,

Defendant asks this Court to stay the litigation and compel the claim to arbitration. (ECF No. 5-1

at 9.) Having considered the motion and the responses filed in light of the applicable law, the Court

grants Defendant’s motion to stay the litigation and to compel arbitration.

                     FACTUAL AND PROCEDURAL BACKGROUND

       Plaintiff Lucille Brisbon (“Plaintiff”) originally filed this action on August 12, 2013, in the

Sumter County Court of Common Pleas. (ECF No. 1-1 at 4-6.)               Plaintiff filed an amended

complaint on September 13, 2013 against this Defendant alleging one count of “retaliatory

discharge” under S.C. Code Ann. § 41-1-80. (ECF No. 1-1 at 7-10.) Defendant filed a notice of

removal on October 16, 2013, on the basis of diversity jurisdiction. (ECF No. 1.) On the same day,

Defendant filed the instant motion. (ECF No. 5.) Plaintiff filed a response in opposition on October

30, 2013 (ECF No. 8), and Defendant filed a reply in support of its motion on November 12, 2013.
      3:13-cv-02819-MGL           Date Filed 07/29/14       Entry Number 12         Page 2 of 5



(ECF No. 9.)

        Defendant contends that Plaintiff and Defendant entered into a mutually-binding mandatory

Arbitration Agreement covering the claims Plaintiff—as a former employee—has asserted in this

matter. (ECF No. 5-1 at 2.) Accordingly, Defendant argues that this lawsuit should be dismissed

and that Plaintiff should be required to pursue any claims she might have through the Employment

Dispute Resolution (“EDR”) Program in accordance with the parties’ agreement. (ECF No. 5-1 at

2.) Defendant maintains that Plaintiff’s allegation that she was harassed, demoted, and threatened

with termination from employment falls squarely within the realm of issues covered under the EDR

Program. (ECF No. 5-1 at 2; ECF No. 9.) Defendant argues that the relevant Arbitration Agreement

satisfies the requisite elements needed to be enforceable under the provisions of the Federal

Arbitration Act (“FAA”). (ECF No. 5-1 at 8.)

                                       LEGAL STANDARDS

      Defendant has moved to dismiss Plaintiff’s Amended Complaint and to compel arbitration

pursuant to 9 U.S.C. § 3 and Rule 12(b)(1) of the Federal Rules of Civil Procedure. (ECF No. 5.)

A motion to dismiss pursuant to Rule 12(b)(1) raises the fundamental question of whether a court

is competent to hear and adjudicate claims. “Federal courts are courts of limited subject matter

jurisdiction, and as such there is no presumption that the court has jurisdiction.” Pinkley, Inc. v. City

of Fredrick, Md., 191 F.3d 394, 399 (4th Cir. 1999). Unless a matter involves an area of a federal

court’s exclusive jurisdiction, a plaintiff may bring suit in federal court only if the matter involves

a federal question arising “under the Constitution, laws or treatises of the United States,” 28 U.S.C.

§ 1331, or if “the matter in controversy exceeds the sum or value of $75,000, exclusive of interest

and costs, and is between citizens of different states,” 28 U.S.C. § 1332(a)(1). In reviewing a

motion to dismiss under Rule 12(b)(1), the court is to “regard the pleadings’ allegations as mere

                                                  -2-
      3:13-cv-02819-MGL           Date Filed 07/29/14        Entry Number 12         Page 3 of 5



evidence on the issue, and may consider evidence outside the pleadings without converting the

proceeding to one for summary judgment.” Richmond, Fredericksburg & Potomac R.R. Co. v.

United States, 945 F.2d 765, 768 (4th Cir. 1991)).

        The Federal Arbitration Act, 9 U.S.C. § 1, et seq., embodies a federal policy favoring

arbitration. Drews Dist., Inc. v. Silicon Gaming, Inc., 245 F.3d 347, 349 (4th Cir. 2001). A litigant

can compel arbitration under the FAA, if the litigant can demonstrate: “ (1) the existence of a dispute

between the parties, (2) a written agreement that includes an arbitration provision which purports

to cover the dispute, (3) the relationship of the transaction, which is evidenced by the agreement,

to interstate or foreign commerce, and (4) the failure, neglect or refusal of the [party] to arbitrate the

dispute.” Adkins v. Labor Ready, Inc., 303 F.3d 496, 500–01 (4th Cir. 2002) (internal citation and

quotations omitted). The FAA mandates that written agreements to arbitrate disputes “shall be valid,

irrevocable, and enforceable, save upon such grounds as exist at law or in equity for the avoidance

of any contract.” 9 U.S.C. § 2. “A district court therefore has no choice but to grant a motion to

compel arbitration where a valid arbitration agreement exists and the issues in a case fall within its

purview.” Adkins, 303 F.3d at 500. The FAA requires a court to stay “any suit or proceeding”

pending arbitration of “any issue referable to arbitration under an agreement in writing for such

arbitration” and the Fourth Circuit has found this stay-of-litigation provision to be mandatory.

Adkins, 303 F.3d at 500 (internal citation and quotations omitted); Hooters of Am., Inc. v. Phillips,

173 F.3d 933, 937 (4th Cir. 1999). However, the Fourth Circuit has also found that when all the

issues presented in a lawsuit are subject to mandatory and binding arbitration, dismissal of the

action, rather than the “mandatory” stay required by 9 U.S.C. § 3, is a proper remedy. Choice Hotels




                                                   -3-
      3:13-cv-02819-MGL          Date Filed 07/29/14      Entry Number 12         Page 4 of 5



Int’l, Inc. v. BSR Tropicana Resort, Inc., 252 F.3d 707, 709-10 (4th Cir. 2001).1

                                           DISCUSSION

       “In order for a court to compel arbitration, the court must first find that an arbitration

agreement exists between the parties. If an agreement is found to exist, the court must then decide

whether the dispute at issue falls within the scope of the agreement.” Hightower v. GMRI, Inc., 272

F.3d 239, 242 (4th Cir.2001). Plaintiff does not dispute that she signed the Arbitration Agreement

in conjunction with the EDR Program, nor does she dispute that the Arbitration Agreement is valid

and enforceable under the provisions of the FAA. Instead, Plaintiff argues that Defendant’s motion

should be denied because Plaintiff asserts that her claims are related to workers’ compensation and

thus exempt from the reach of the EDR Program. (ECF No. 8 at 1-2.)

       The Court agrees with Defendant’s position and finds that Plaintiff’s claims fall squarely

under the Arbitration Agreement. At this juncture, Plaintiff’s sole claim in the instant action is for

“retaliatory discharge” under S.C. Code Ann. § 41-1-80 in connection with alleged harassment,

demotion, and threats of termination following the filing of a workers’ compensation claim. (ECF

No. 1-1 at 9.) Such a claim comes within the EDR Program’s coverage of claims for “discipline,

discrimination, fair treatment, harassment, termination, and other legally protected rights.” (ECF No.

5-3 at 5.) Any purported ambiguity as to the EDR Program’s coverage must be resolved in favor

of arbitration. Volt Info. Sciences, Inc. v. Bd. of Tr. of Leland Stanford Jr. Univ., 489 U.S. 468,

475–76 (1989); see also Washington Square Securities, Inc. v. Aune, 385 F.3d 432, 436 (4th Cir.

2004) (noting that in the absence of an express provision excluding a particular grievance from


       1
         The Fourth Circuit has not definitely resolved whether a stay pending arbitration or
dismissal must be consistently ordered by a court when faced with an action where all issues purport
to be covered by mandatory, binding arbitration and has further recognized a split among the circuits
on this issue. See Aggarao v. MOL Ship Mgmt. Co., Ltd., 675 F.3d 355, 376 n.18 (4th Cir. 2012).

                                                 -4-
      3:13-cv-02819-MGL          Date Filed 07/29/14        Entry Number 12        Page 5 of 5



arbitration, “only the most forceful evidence of a purpose to exclude the claim from arbitration can

prevail.”(internal citation and quotations omitted)). The issues presented in the Amended Complaint

are arbitrable under a valid agreement and the claims are subject to arbitration.

                                          CONCLUSION

       For the foregoing reasons, the court GRANTS Defendant’s motion to compel Plaintiff to

arbitrate her claims and stays the instant federal lawsuit. The record shows that Plaintiff’s claims

against Defendant are covered by a valid arbitration agreement and the parties are ordered to submit

the claims to arbitration in accordance with the relevant agreement. All other relief requested is

denied for present purposes.2 The parties should file a status report within six months of the date

of this order. Defendant is granted leave to petition the Court to dismiss this action if necessary

pending the outcome of the arbitration.

       IT IS SO ORDERED.

                                               /s/Mary G. Lewis
                                               United States District Judge
Spartanburg, South Carolina
July 29, 2014




       2
         Defendant has failed to demonstrate that this action should be dismissed for lack of subject
matter jurisdiction. To the extent Defendant sought dismissal based on Rule 12(b)(1) on the grounds
that the Arbitration Agreement somehow ousts this Court of jurisdiction, the more modern view is
that such agreements are in fact not destructive of jurisdiction. In this instance, the Court finds that
retention of jurisdiction over this matter to be the most prudent course of action. See Bayer
CropScience AG v. Dow AgroSciences, LLC, No. 2:12-cv-47, 2012 WL 2878495 (E.D. Va. July 13,
2012)(discussing several circuit cases and viewpoints).

                                                  -5-
